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				ORDER AUTHORIZING ACCESS TO ELECTRONIC JURY MANAGEMENT SYSTEM2015 OK 43Decided: 06/11/2015As Corrected: June 12, 2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 43, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR 
PUBLICATION. 



Order Authorizing Access to Electronic Jury Management 
System


ORDER
The purpose of this order is to effectuate the implementation of the 
electronic jury management system developed by Courthouse Technologies, LTD 
(CHT) and approved by the Legislature in 38 O.S. Supp. 2015 §18.2.
Title 11 Ohio St. 2011 §27-120 
requires that jurors in the municipal courts shall be selected under the same 
terms and conditions as are provided for by law in the district courts, or in 
the alternative, pursuant to 38 Ohio St. 
2011 §18.1. Section 27-120 also provides that the clerk of the district 
court draws jurors in the same manner as is provided by law for the district 
court. Additionally, 11 Ohio St. 2011 
§28-116 also allows municipal criminal courts of record to request a jury be 
drawn in the same manner as the district courts and places the duty on the clerk 
of the district court to draw a jury for a municipal court in the same manner as 
the district court.
Title 38 O.S. Supp. 2015 §18.2 creates an electronic jury management system 
developed by Courthouse Technologies, Ltd. (CHT) in the district courts in the 
State of Oklahoma to select and summon grand and petit jurors and for the 
general administration of the jury process, and for use by the Administrative 
Office of the Courts for multi-county grand juries. Section 18.2 does not 
expressly include or exclude municipal courts from utilizing the same process as 
the district courts. However, because 11 Ohio St. 2011 §27-120 and 11 Ohio St. 2011 §28-116 expressly 
require the district courts to draw jury pools for municipal court in the same 
manner as the district courts, we hereby authorize and approve the use of the 
electronic jury management system for municipal courts as well.
It is further Ordered that when a judge of a municipal court makes a written 
request to the chief judge of the appropriate district court for a stated number 
of jurors pursuant to 11 Ohio St. 2011 
§27-120 or when the presiding judge of a municipal criminal court of record 
makes a written request to the presiding judge of the appropriate district court 
for a stated number of jurors pursuant to 11 Ohio St. 2011 §28-116, the district 
court may utilize the CHT jury management system to select the names of jurors 
and provide the list of potential jurors to the municipal court in electronic 
format, and shall not be required to provide written jury lists or prepare juror 
summons for the municipal court.
DONE BY ORDER OF THE SUPREME COURT this 11th day of June, 2015.

/S/CHIEF JUSTICE

ALL JUSTICES CONCUR.




	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Title 11. Cities and Towns
&nbsp;CiteNameLevel

&nbsp;11 Ohio St. 27-120, Selection and Summons of JurorsDiscussed at Length
&nbsp;11 Ohio St. 28-116, Jury List and Jury BoxesDiscussed at Length
Title 38. Jurors
&nbsp;CiteNameLevel

&nbsp;38 Ohio St. 18.1, Alternative Plan for Selection of Jurors With Aid of Mechanical or Electronic MeansCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
